       Case 1:25-cv-10676-BEM         Document 173        Filed 06/23/25     Page 1 of 2




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                              )
D.V.D., et al.,                               )
                                              )
Individually and on behalf of all others      )
similarly situated,                           )
                                              )
                Plaintiffs,                   )   No. 1:25-cv-10676-BEM
                                              )
        v.                                    )
                                              )
U.S. Department of Homeland Security, et al., )
                                              )
                Defendants.                   )
                                              )
                                              )

                             DEFENDANTS’ STATUS REPORT

       Consistent with the Court’s May 21, 2025 order (ECF No. 119), Defendants file this status

report as an update to the reports they provided on May 25, 2025, June 2, 2025, June 9, 2025, and

June 16, 2025. On June 23, 2025, the Supreme Court issued a stay of the preliminary injunction

issued in this case. Defendants are currently assessing the Supreme Court’s decision to determine

next steps.
      Case 1:25-cv-10676-BEM            Document 173        Filed 06/23/25      Page 2 of 2




Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I, Mary Larakers, Senior Litigation Counsel, hereby certify that this document filed through
the ECF system will be sent electronically to the registered participants as identified on the Notice
of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered
participants.

                                                      /s/ Mary L. Larakers
                                                      Mary L. Larakers
Dated: June 23, 2025                                  Senior Litigation Counsel
